      Case 4:15-cr-00209-DPM    Document 67    Filed 09/09/15   Page 1 of 1




               IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                         WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                         4:15CR00209-2 DPM


DERRICK PALMORE, JR

                                   ORDER

      On September 8, 2015, the Court placed Defendant on home detention, with

electronic monitoring, with a third-party custodian in Caruthersville, Missouri.

Consistent with the Court’s conditions, Defendant’s bond papers (doc. 65) are

MODIFIED to impose condition “(7)(q),” electronic location monitoring.

      IT IS SO ORDERED this 9th day of September, 2015.



                                    ___________________________________
                                    UNITED STATES MAGISTRATE JUDGE
